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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK




 Commodity Futures Trading Commission,              Civil Action No.   18-cv-2247-SJF-ARL


                        Plaintiff,

                        V.



 Blake Harrison Kantor aka Bill Gordon,
 Nathan Mullins,
 Blue Bit Banc,
 Blue Bit Analytics, Ltd.,
 G.Thomas Client Services, and
 Mercury Cove,Inc.,
                                                                  * APR 16 2018 ^
                                                                  long island office
                        Defendants,

 and


 Blue Wolf Sales Consultants,

                        Relief Defendant.




   COMPLAINT FOR INJUNCTIVE RELIEF,CIVIL MONETARY PENALTIES AND
                     OTHER EQUITABLE RELIEF

        Plaintiff, Commodity Futures Trading Commission ("Commission" or "Plaintiff), by its

 attorneys, alleges as follows:

                                      I.      SUMMARY


        1.      The Defendants operated a common enterprise to defraud U.S. customers in

 connection with a "binary options" scheme.

        2.      Beginning in at least April 2014, and continuing through the present("Relevant

 Period"), Defendants Blake Harrison Kantor("Kantor") and Nathan Mullins ("Mullins"),


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individually and acting through Defendants Blue Bit Banc (“Blue Bit”), Blue Bit Analytics, Ltd.

(“Analytics”), and Mercury Cove, Inc. (“Mercury”), and G. Thomas Client Services (“G.

Thomas”) (collectively “Defendants”) operated and functioned as a common enterprise (the

“Blue Bit Enterprise”), engaged in an illegal binary options trading scam using the

instrumentalities of interstate commerce and received at least $618,810 from at least 6 U.S.

customers, at least some of which was misappropriated.

       3.      Defendants have transferred some of the customer funds it received to Relief

Defendant Blue Wolf Sales Consultants (“Blue Wolf”). Relief Defendant Blue Wolf does not

provide any apparent legitimate services to the Blue Bit Enterprise or its clients and does not

have any interest or entitlement to client funds.

       4.      The Defendants fraudulently solicited the Blue Bit Enterprise’s customers to enter

into these illegal, off-exchange binary options transactions. They did this through phone calls

and emails to prospective customers and through their website, www.bluebitbanc.com. In their

solicitations, the Defendants offered their customers self-traded and managed accounts that they

falsely claimed would generate significant profits based upon Kantor’s purported past profitable

trading.

       5.      In late 2017, Kantor told some of the customers that Blue Bit was terminating its

binary options business and that customers would have to close their accounts. However, in an

attempt to cover up the fraud, Kantor invited these customers to transfer their balances to a new

virtual currency firm with which he had become affiliated, Bitsblockchain, where they would

receive an amount of a new virtual currency, ATM Coin (“ATMC”). As an incentive, Kantor

said that the U.S. dollar equivalent of ATMC which they would receive would be substantially

more than their Blue Bit account balance.



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       6.      Some Blue Bit customers agreed to Kantor’s proposal, and Bitsblockchain opened

what they referred to as an “account” for the customer which was credited with a specified

quantity of ATMC. 7. Former Blue Bit customers could access their new Bitsblockchain

statements online. Although their holdings of ATMC initially showed tremendous gains, these

customers recently have been locked out of their Bitsblockchain accounts, and at least one

customer is unable to withdraw and monetize his ATMC holdings.

       8.      By virtue of this conduct and further conduct described below, the Defendants

have engaged, are engaging, or are about to engage, in acts and practices in violation of the

following sections of the Commodity Exchange Act (“Act”), 7 U.S.C. §§ 1-26 (2012), and

accompanying regulations (“Regulations”), 17 C.F.R. pt. 1.1-190.10 (2017):

            a. Section 2(e) of the Act, 7 U.S.C. § 2(e) (2012), which prohibits off-exchange

               retail transactions in swaps;

            b. Section 4c(b) of the Act, 7 U.S.C. § 6c(b) (2012), and Regulation 32.2, 17 C.F.R.

               § 32.2 (2017), which prohibit offering or entering into off-exchange transactions

               in commodity options;

            c. Section 4d(a)(1) of the Act, 7 U.S.C. § 6d(a)(1) (2012), which prohibits soliciting

               or accepting orders, and accepting money, for commodity options or swap

               transactions without registration as a futures commission merchant (“FCM”);

            d. Section 4c(b) of the Act and Regulation 32.4, 17 C.F.R. § 32.4 (2017), which

               prohibit fraud in connection with commodity options transactions; and

            e. Section 6(c)(1) of the Act, 7 U.S.C. § 9(1) (2012), and Regulation 180.1(a),

               17 C.F.R. § 180.1(a) (2017), which prohibit fraud in connection with, among

               other things, swap transactions.



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       9.      Accordingly, pursuant to Section 6c of the Act, 7 U.S.C. § 13a-1 (2012), the

Commission brings this action to enjoin Defendants’ unlawful acts and practices and to compel

Defendants’ compliance with the Act and Regulations, and to further enjoin Defendants from

engaging in certain commodity options and swaps-related activities.

       10.     In addition, the Commission seeks civil monetary penalties and remedial ancillary

relief, including, but not limited to, trading and registration bans, restitution, disgorgement,

rescission, pre- and post-judgment interest, and such other relief as the Court may deem

necessary and appropriate.

       11.     Unless restrained and enjoined by this Court, Defendants are likely to continue to

engage in the acts and practices alleged in this Complaint and similar acts and practices, as more

fully described below.

                             II.     JURISDICTION AND VENUE

       12.     This Court has jurisdiction over this action under 28 U.S.C. § 1331 (2012)

(federal question jurisdiction) and 28 U.S.C. § 1345 (2012) (district courts have original

jurisdiction over civil actions commenced by the United States or by any agency expressly

authorized to sue by Act of Congress). Section 6c(a) of the Act, 7 U.S.C. § 13a-1(a) (2012),

authorizes the Commission to seek injunctive relief against any person whenever it shall appear

that such person has engaged, is engaging, or is about to engage in any act or practice that

violates any provision of the Act or any rule, regulation, or order promulgated thereunder.

       13.     Venue properly lies with this Court pursuant to Section 6c(e) of the Act because

Defendants are found in, inhabit, or transact business in the Eastern District of New York, and

the acts and practices in violation of the Act and Regulations have occurred within this District,

among other places.


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                                    III.    THE PARTIES

       14.    Plaintiff, Commodity Futures Trading Commission (“CFTC” or “Commission”)

is the independent federal regulatory agency charged with the administration and enforcement of

the Commodity Exchange Act and regulations promulgated thereunder.

       15.    Defendant Blake Harrison Kantor is a natural person, 42 years of age, who

sometimes uses the alias name “Bill Gordon” and resides in New York, New York. Kantor was

registered as a broker with the Financial Industry Regulatory Authority until November 9, 2004,

when his registration was terminated after he was convicted of a felony drug charge in 2002.

Kantor has never been registered with the Commission in any capacity.

       16.    Defendant Nathan Mullins is a natural person, 32 years of age and resides in

Forest Hills, New York. Mullins has never been registered with the Commission in any capacity.

       17.    Defendant Blue Bit Banc is a business entity that purports, on its website, to be

owned and operated by Biz-E-Bee Services, Ltd. in the U.K. Blue Bit’s website

at www.bluebitbanc.com was created on April 28, 2014 and its registrant is Bill Gordon.

Thereafter, a set of the incorporation documents for “Biz-E-Bee Services, Ltd.,” originating from

an Israeli firm, were sent to Bill Gordon on May 1, 2015. Blue Bit has never been registered

with the Commission in any capacity.

       18.    Defendant Blue Bit Analytics, Ltd. is a business entity that appears to be located

in Nevis, Turks and Caicos. However, Analytics maintained an office in New York, NY from at

least July 2015 through January 2017 and Bill Gordon was its “Managing Director.” Analytics

maintained a bank account in Nevis, and, was the entity that accepted nearly all money from

customers in connection with the swaps and virtual currency transactions at issue. Analytics has

never been registered with the Commission in any capacity.



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       19.       Defendant Mercury Cove, Inc. is a New York corporation incorporated on

February 25, 2015 with its principal business office located at Mullins’ residence. Mullins was

the incorporator of Mercury. Mercury has never been registered with the Commission in any

capacity.

       20.       Defendant G. Thomas Client Services is a New York corporation incorporated on

July 28, 2015. G. Thomas has never been registered with the Commission in any capacity.

       21.       Kantor, Mullins, Blue Bit, Analytics, Mercury Cove and G. Thomas have

operated and functioned as a common enterprise–the Blue Bit Enterprise while engaging in the

unlawful acts and practices alleged in this Complaint. These defendants conducted business

through an interrelated network of companies that have common control, business functions,

employees, agents, and, for a time, shared office space. Because these defendants have operated

a common enterprise, they are jointly and severally liable for the unlawful acts and practices

alleged in this Complaint.

       22.       Relief Defendant Blue Wolf Sales Consultants is a New York corporation

incorporated on May 20, 2014. Kantor is the CEO of Blue Wolf. Blue Wolf has never been

registered with the Commission in any capacity.

                             IV.     STATUTORY BACKGROUND

A.         Prohibition Against Off-Exchange Retail Swaps and Options Trading

      i.         Swaps

           23.   An eligible contract participant (“ECP”) is defined in Section 11a(18)(A)(xi) of

the Act, 7 U.S.C. § 1a(18)(A)(xi), in relevant part, as an individual who has amounts invested on

a discretionary basis, the aggregate of which exceeds $10 million, or $5 million if the individual




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enters into the transaction to manage the risk associated with an asset or liability incurred, or

reasonably likely to be owned or incurred, by the individual.

         24.      Section 2(e) of the Act, 7 U.S.C. § 2(e) (2012), makes it unlawful for any person

who is not an ECP–i.e., any person who is a retail customer–to enter into a swap unless the swap

is entered into on or subject to the rules of, a board of trade designated as a contract market under

section 5” (hereafter referred to as “registered exchange).”

         25.      Section 1a(47)(A) of the Act, 7 U.S.C. § 1a(47)(A)(2012), defines “swap” to

include, among other things, any agreement, contract, or transaction that: (a) is an option of any

kind; (b) provides for payment dependent on the occurrence, nonoccurrence, or the extent of the

occurrence of an event or contingency; or (c) provides on an executory basis for payments based

on the value or level of one or more interest or other rates, currencies, commodities, securities,

instruments of indebtedness, indices, quantitative measures, or other financial or economic

interests or property of any kind, without also conveying an ownership interest in any asset or

liability.

      ii.         Options

         26.      Through Section 4c(b) of the Act ,7 U.S.C. § 6c(b) (2012), Congress has given

the Commission jurisdiction and plenary rulemaking authority over all commodity option

transactions.

            27.   The Act bans off-exchange trading of commodity option contracts under Section

4c(b) of the Act and Commission Regulation 32.2, 17 C.F.R. § 32.2 (2017). Section 4c(b) of the

Act makes it unlawful for any person to offer to enter into, enter into, or confirm the execution

of, any transaction involving any commodity regulated under the Act which is of the character

of, or is commonly known as, inter alia, an “option,” “bid,” “offer,” “put,” or “call,” contrary to



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any rule, regulation, or order of the Commission prohibiting any such transaction or allowing any

such transaction under such terms and conditions as the Commission shall prescribe.

       28.        Regulation 32.2 makes it unlawful for any person to offer to enter into, enter into,

confirm the execution of, maintain a position in, or otherwise conduct activity related to any

transaction in interstate commerce that is a commodity options transaction, unless such

transaction is conducted in compliance with and subject to the provisions of the Act, including

any Commission rule, regulation, or order thereunder, otherwise applicable to any swap.

B.     Prohibition Against Unregistered FCMs

       29.        Section 4d(a)(1) of the Act, 7 U.S.C. §6d(a)(1) (2012), makes it unlawful for any

person to act as an FCM unless such person is registered with the Commission.

           30.    Section 1a(28)(A) of the Act, 7 U.S.C. § 1a(28)(A) (2012), defines an FCM as an

individual, association, partnership, or trust that is engaged in soliciting or accepting orders for

swaps or commodity options, and, in connection with soliciting or accepting such orders, accepts

any money, securities, or property (or extends credit in lieu thereof) to margin, guarantee, or

secure any trades that result or may result therefrom.

C.         Prohibition Against Fraud

           31.    The Act and Regulations contains numerous anti-fraud provisions applicable to

various categories of entities or transactions.

      i.          Options Fraud

        32.       Regulation 32.2, 17 C.F.R. § 32.2 (2017), states:

           Subject to §§ 32.1, 32.4, and 32.5, which shall in any event apply to all
           commodity options transactions, it shall be unlawful for any person or
           group of persons to offer to enter into, enter into, confirm the execution of,
           maintain a position in, or otherwise conduct activity related to any
           transaction in interstate commerce that is a commodity option transaction,
           unless:


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                   (a) Such transaction is conducted in compliance with and subject to
           the provisions of the Act, including any Commission rule, regulation, or
           order thereunder, otherwise applicable to any other swap, or
                   (b) Such transaction is conducted pursuant to § 32.3.

Furthermore, Regulation 32.4, 17 C.F.R. § 32.4 (2017), promulgated under Section 4c(b) of the

Act, provides that:

        In or in connection with an offer to enter into, the entry into, or the confirmation
        of the execution of, any commodity option transaction, it shall be unlawful for
        any person, directly or indirectly:
                (a) To cheat or defraud or attempt to cheat or defraud any other person;
                (b) To make or cause to be made to any other person any false report or
        statement thereof or cause to be entered for any person any false record thereof; or
                (c) To deceive or attempt to deceive any other person by any means
        whatsoever.”

     ii.          Manipulative & Deceptive Devices in Connection with Swaps

        33.       Section 6(c)(1) of the Act, 7 U.S.C. § 9(1) (2012), makes it unlawful for any

person, directly or indirectly, to use or employ, or attempt to use or employ, in connection with

any swap, or a contract of sale of any commodity in interstate commerce . . . any manipulative or

deceptive device or contrivance, in contravention of such rules and regulations as the

Commission shall promulgate.

        34        Regulation 180.1(a), 17 C.F.R. § 180.1(a) (2017), in turn, specifically provides

that “it shall be unlawful for any person, directly or indirectly, in connection with any swap, or

contract of sale of any commodity in interstate commerce . . . on or subject to the rules of any

registered entity, to intentionally or recklessly: (1) Use or employ, or attempt to use or employ,

any manipulative device, scheme, or artifice to defraud; (2) Make, or attempt to make, any

untrue or misleading statement of a material fact or to omit to state a material fact necessary in

order to make the statements made not untrue or misleading; or (3) Engage, or attempt to

engage, in any act, practice, or course of business, which operates or would operate as a fraud or

deceit upon any person . . . .”
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                                          V.      FACTS

A.     Binary Options Generally

       35.     Binary options are options that either pay nothing or a pre-determined payout

depending upon the investor’s prediction as to whether the price of the referenced asset (such as

the price of gold or silver) will rise above or below a specified amount on a specified date and

time. The payout depends entirely on the outcome of this type of yes/no proposition. For

example, the yes/no proposition might be whether the price of silver will be higher than $33.40

per ounce at 11:17 a.m. on a particular day.

       36.     Once the option holder acquires a binary option through payment of a premium,

there is no further decision for the holder to make as to whether or not to exercise the binary

option because binary options exercise automatically. Unlike other types of options, a binary

option does not give the holder the right to purchase or sell the underlying asset–instead, it is

“cash settled.” When the binary option expires, the option holder is entitled to a pre-determined

amount of money if the customer has made a correct prediction. If the customer has made an

incorrect prediction, he or she gets nothing and loses the premium paid.

       37.     Binary options contracts are required to be traded on a registered board of trade.

There are only three designated contract markets currently authorized to offer binary options that

are commodity options transactions to retail customers in the U.S.: Cantor Exchange LP,

Chicago Mercantile Exchange, Inc., and the North American Derivatives Exchange, Inc. All

other entities offering binary options in the U.S. or to U.S. customers are doing so illegally.

       38.     The Defendants are not ECPs and Blue Bit’s customers are generally not ECPs.

In fact, there is nothing on the Blue Bit website nor in its procedures for accepting new Blue Bit

customers that qualifies prospective customers’ income or net worth.



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B.     Virtual Currency and ATMC

       39.     “Virtual currency” is defined here as a digital representation of value that

functions as a medium of exchange, a unit of account, and/or a store of value, but does not have

legal tender status in any jurisdiction. The virtual currency relevant to this complaint, ATM

Coin, and other virtual currencies such as Bitcoin are distinct from “real” currencies, which are

the coin and paper money of the United States or currencies of other countries that are issued,

designated and circulated as legal tender, and customarily used and accepted as a medium of

exchange.

       40.     The virtual currency involved in this fraudulent scheme is ATM Coin or “ATMC”

and stands for “Asset Trading Market Coin” According to its website at atmcoin.com, ATMC

purports to be a “cryptocurrency” that is a “virtual currency that works essentially the same as

the money you already know: to exchange goods and services.” The website also states that

ATMC uses open-source (meaning “everyone can access it”) blockchain technology that is

“decentralized” with “no government or authority to control it.” However, ATMC also recently

claimed to have become a “supranational legal tender currency” for a purported sovereignty

called the “Principality of Saint Stephen.”

C.     Defendants’ Illegal Binary Options Business

       41.     In at least April 2014, Blue Bit Banc began offering trading in binary options to

U.S. retail customers.

       42.     Using his alias name Bill Gordon, Kantor launched the

website www.bluebitbanc.com (“Blue Bit Website”), which is also a registered domain name of

Analytics. The Blue Bit Website, which is still online, claims that Blue Bit is “a premier option

trading platform” and introduces investors “to the exciting world of exotic option trading by



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creating an exceptional trading environment where anyone can trade binary options in a simple,

smart way.”

       43.     Kantor consistently used his alias name Bill Gordon in all of his dealings with

Blue Bit customers and used the Blue Bit Website to solicit investors to trade binary options by

opening an account at Blue Bit.

       44.     In February 2015, Mullins incorporated Mercury and opened a U.S. bank account

for Mercury. Mullins used Mercury to funnel payments it received from Analytics to the Blue

Bit sales staff, to himself and to Kantor, through his company, Blue Wolf.

       45.     In July 2015, Kantor, on behalf of Analytics, opened an office in midtown

Manhattan to provide a venue for the Blue Bit sales staff to market binary options trading

accounts at Blue Bit. From 2015 through early 2017, at least twenty individuals worked for Blue

Bit at various times in the Analytics sales office.

       46.     G. Thomas was used to funnel payments it received from Analytics to the Blue

Bit sales staff, and to Kantor, through his company, Blue Wolf.

D.     Defendants Misappropriated Customer Funds

       47.     After convincing a prospective customer to open a Blue Bit trading account,

Kantor and others acting on behalf of the Blue Bit Enterprise would instruct them how to fund

their new account. Kantor set up Analytics with an off-shore bank account. Customers typically

were told to send their funds by wire or credit card to Analytics at its Nevis bank account.

Defendants received at least $618,810 in customer funds, most of which was sent to Analytics at

its Nevis bank account.

       48.     Analytics in turn sent customer funds from its Nevis bank account to Mercury and

G. Thomas bank accounts in the U.S. Those funds were then distributed to Mullins and the Blue

Bit sales staff and were used to pay Defendants’ business and personal expenses, including,
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among others, salaries and commissions to sales staff. The Mercury and G. Thomas bank

accounts were used to further disguise how Blue Bit customer funds were being used.

       49.     In at least one instance, Kantor, using his alias Bill Gordon, told a customer to

send the funds which he intended for investment at Blue Bit to the G. Thomas U.S. bank

account. Kantor used this customer’s $60,000 investment to pay Defendants’ business and

personal expenses.

       50.     G. Thomas also transferred at least $62,710 to a Blue Wolf U.S. bank account and

Mercury transferred $33,933 to the same Blue Wolf U.S. bank account. Kantor is the sole

signatory on the Blue Wolf account and used the account as his personal bank account. Blue

Wolf does not provide any legitimate services to Defendants’ customers nor does it have any

legitimate interest or entitlement to those customer funds.

       51.     Kantor or individuals acting on behalf of the Blue Bit Enterprise made purported

binary options trades for the customers or the customers were instructed by Kantor and others

acting on behalf of the Blue Bit Enterprise on how to enter orders through the Blue Bit online

order-entry platform on the Blue Bit website. The Defendants then manipulated or fabricated

purported trades in their customers’ accounts to insure that they could be manipulated to the

customers’ disadvantage. In some instances, trading losses continued until the customer’s online

account was nearly depleted.

       52.     Some customers with balances reflected in their Blue Bit accounts have been

unable to withdraw their funds. Kantor told at least one customer that the customer’s remaining

balance was “bonus” money that had been credited to him by Blue Bit and, thus, were not his

funds to withdraw. In another situation, a customer has been unable to navigate the withdrawal

of his money through Blue Bit’s online account.



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        53.    In or around October 2017, as part of an exit strategy, the Defendants began to

migrate their fraudulent business model away from binary options into a new fraudulent scheme

in an effort to conceal the Blue Bit fraud. Kantor contacted at least two Blue Bit customers who

had large account balances and told them that he was getting out of the binary options business.

Kantor told these customers that he had selected them because they were among his top 21 Blue

Bit customers and that he, therefore, recommended that they authorize him to transfer at least

part of their Blue Bit account balances to another company with which he had recently become

affiliated.

        54.    Kantor said that the new company was called Bitsblockchain and that it offered

customers the chance to purchase its new virtual currency called ATMC. Bitsblockchain offered

ATMC for sale to retail customers via its website www.bitsblockchain.com. Kantor and others

acting on behalf of the Blue Bit Enterprise also marketed Bitsblockchain’s ATMC to the public,

including, for instance, by adding a link to Bitsblockchain’s website on the Blue Bit website.

        55.    Kantor told these two customers that he would be able to get them a good deal on

the ATMC virtual currency because he was introducing a group of 21 customers to the firm.

Kantor told his customers that they would receive ATMC with a value in U.S. dollars that would

be far more than the U.S. dollars in their Blue Bit account, and told at least one customer that this

arrangement meant that he had gotten a “HUGE deal.” Kantor also encouraged these customers

to add additional funds to obtain even more ATMC.

        56.    Some customers agreed to move their funds and at least one also sent additional

money to Blue Bit to buy more ATMC. Kantor told them that he transferred their Blue Bit

account balances to Bitsblockchain for ATMC. In doing so, Kantor, knowingly, or at the very

least, acted recklessly in exchanging his former customers’ Blue Bit account balances for the



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ATMC virtual currency that he knew, or should have known, could not be monetized for

anything close to the U.S. dollars that he had told his customers would be the case.

        57.    After the Blue Bit customers were transferred to Bitsblockchain they could no

longer access their online Blue Bit account statements. However, they were able to access online

statements at www.bitsblockchain.com. Two customers were told that their Blue Bit account

balances of approximately $300,000 and $175,000 were transferred to Bitsblockchain. Over the

few months that they have had holdings of ATMC, these customers have seen each of their

account balances increase to purported values of more than $2 million.

        58.    At least one of these customers recently attempted unsuccessfully to withdraw

funds from his Bitsblockchain account. This customer saw his ATMC account decline from

more than $2.9 million to $814,381 and had his account “blocked.” When he inquired why this

had happened, a representative of Bitsblockchain told him that it was blocked because his

account was “in a process of investigation.”

D.      Defendants’ Fraudulent Solicitations

        59.    The Blue Bit Enterprise defrauded U.S. customers whom they had solicited to

trade binary options by misrepresenting and omitting material information. The

misrepresentations made by the Defendants included telling customers that they could withdraw

their investment funds at any time after their Blue Bit trading had reached a specified volume of

activity.

        60.    The Blue Bit Enterprise also defrauded its customers by claiming it had added

“bonuses” to their accounts. However, these purported capital additions were a device

subsequently used by the Blue Bit Enterprise to deny customers’ requests to withdraw their

funds. Among other things, the Blue Bit Enterprise contended that the effect of the added



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“bonuses” was to increase the required minimum trading volume before customers could make a

withdrawal.

       61.     Blue Bit knew that these representations were false, or at the least, acted

recklessly in making those representations, in that customers were precluded from withdrawing

their Blue Bit investment funds despite reaching the original trading volume specified to them

before these purported bonuses were added.

       62.     Blue Bit further defrauded their customers by omitting from their customers’

online Blue Bit account statements and verbal communications with their customers that their

funds had been misappropriated.

 VI.   VIOLATIONS OF THE COMMODITY EXCHANGE ACT AND REGULATIONS

                        Count One: Illegal Off-Exchange Retail Swaps
                         Section 2(e) of the Act Against all Defendants

       63.     The allegations set forth in paragraphs 1 through 62 are realleged and

incorporated herein by reference.

       64.     The binary options offered by the Defendants constituted swaps transactions.

During the Relevant Period, the Defendants entered into swaps transactions with customers using

the instrumentalities of interstate commerce.

       65.     The Defendants, who themselves were not ECPs, did this with customers who

were non-ECPs.

       66.     The swaps transactions that the Defendants entered into were not executed on any

registered exchange.

       67.     The Defendants, by entering into swaps transactions with retail customers, have

violated Section 2(e) of the Act, 7 U.S.C. § 2(e) (2012).



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       68.     Defendant Kantor is a controlling person of Blue Bit and Analytics and has failed

to act in good faith, or has knowingly induced, directly or indirectly, the acts of Blue Bit and

Analytics constituting the violations set forth in Count One. Accordingly, Kantor is liable for

each and every violation of the Act committed by Blue Bit and Analytics, pursuant to Section

13(b) of the Act, 7 U.S.C. §13(b) (2012).

       69.     Defendant Mullins is a controlling person of Mercury, and, has failed to act in

good faith, or has knowingly induced, directly or indirectly, the acts of Mercury constituting the

violations set forth in Count One. Accordingly, Mullins is liable for each and every violation of

the Act committed by Mercury, pursuant to Section 13(b) of the Act.

       70.     Blue Bit and Analytics are liable for the acts, omissions, or failures of Kantor, and

any other agents, employees, or persons otherwise acting for them, pursuant to Section

2(a)(1)(B) of the Act, 7 U.S.C. § 2(a)(1)(B) (2012), and Regulation 1.2, 17 C.F.R. § 1.2 (2017).

       71.     G. Thomas is liable for the acts, omissions, or failures of its agents, employees, or

persons otherwise acting for it, pursuant to Section 2(a)(1)(B) of the Act, and Regulation 1.2.

       72.     Mercury is liable for the acts, omissions, or failures of Mullins, and any other

agents, employees, or persons otherwise acting for it, pursuant to Section 2(a)(1)(B) of the Act,

and Regulation 1.2.

       73.     Each member of the Blue Bit Enterprise participated in the unlawful acts and

practices described in this Complaint and are therefore jointly and severally liable for the

violations of Section 2(e) of the Act committed by other members of the Blue Bit Enterprise.

       74.     Each act of entering into an illegal, off-exchange retail swap is alleged as a

separate and distinct violation of Section 2(e) of the Act.




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                   Count Two: Illegal Off-Exchange Commodity Options
             Section 4c(b) of the Act and Regulation 32.2 Against all Defendants

       75.     The allegations set forth in paragraphs 1 through 74 are re-alleged and

incorporated herein by reference.

       76.     During the Relevant Period, the Defendants offered to enter into, entered into,

confirmed the execution of, maintained positions in, and otherwise conducted activities relating

to commodity options using the instrumentalities of interstate commerce.

       78.     The commodity options that the Defendants offered to enter into, entered into,

confirmed the execution of, maintained positions in, and otherwise conducted activities relating

to, were not executed on any registered exchange nor had they sought registration as an exempt

foreign exchange.

       79.     The Defendants, by offering to enter into, entering into, confirming the execution

of, maintaining a position in, or otherwise conducting activity related to commodity options,

other than on a registered exchange, have violated Section 4c(b) of the Act, 7 U.S.C. § 6c(b)

(2012), and Regulation 32.2, 17 C.F.R. § 32.2 (2017).

       80.     Defendant Kantor is a controlling person of Blue Bit and Analytics and has failed

to act in good faith, or has knowingly induced, directly or indirectly, the acts of Blue Bit and

Analytics constituting the violations set forth in Count Two. Accordingly, Kantor is liable for

each and every violation of the Act committed by Blue Bit and Analytics, pursuant to Section

13(b) of the Act.

       81.     Defendant Mullins is a controlling person of Mercury and has failed to act in good

faith, or has knowingly induced, directly or indirectly, the acts of Mercury constituting the

violations set forth in Count Two. Accordingly, Mullins is liable for each and every violation of

the Act committed by Mercury, pursuant to Section 13(b) of the Act.

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       82.     Blue Bit and Analytics are liable for the acts, omissions, or failures of Kantor, and

any other agents, employees, or persons otherwise acting for them, pursuant to Section

2(a)(1)(B) of the Act and Regulation 1.2.

       83.     G. Thomas is liable for the acts, omissions, or failures of its agents, employees, or

persons otherwise acting for it, pursuant to Section 2(a)(1)(B) of the Act, and Regulation 1.2.

       84.     Mercury is liable for the acts, omissions, or failures of Mullins, and any other

agents, employees, or persons otherwise acting for it, pursuant to Section 2(a)(1)(B) of the Act,

and Regulation 1.2.

       85.     Each member of the Blue Bit Enterprise participated in the unlawful acts and

practices described in this Complaint and are therefore jointly and severally liable for the

violations of Section 4c(b) of the Act and Regulation 32.2 committed by other members of the

Blue Bit Enterprise.

       86.     Each act of offering to enter into, entering into, confirming the execution of,

maintaining a position in, or otherwise conducting activity related to commodity options, other

than on a registered exchange, is alleged as a separate and distinct violation of Section 4c(b) of

the Act and Regulation 32.2.

                               Count Three: Unregistered FCM
             Section 4d(a)(1) of the Act Against Analytics, G. Thomas and Kantor

       87.     The allegations set forth in paragraphs 1 through 86 are re-alleged and

incorporated herein by reference.

       88.     During the Relevant Period, the Defendants were engaged in soliciting and

accepting orders for commodity options or swaps using the instrumentalities of interstate

commerce.




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       89.     During the Relevant Period, Analytics and G. Thomas accepted money to margin,

guarantee, or secure trades or contracts resulting from commodity options or swaps transactions

using the instrumentalities of interstate commerce.

       90.     Neither Analytics nor G. Thomas has ever been registered with the Commission

as an FCM.

       91.     Analytics and G. Thomas, by soliciting or accepting orders for commodity

options or swaps, and accepting money to margin, guarantee, or secure trades or contracts

resulting from those commodity options or swaps without registration as an FCM, have violated

Section 4d(a)(1) of the Act, 7 U.S.C. § 6d(1) (2012).

       92.     Defendant Kantor is a controlling person of Analytics and has failed to act in

good faith, or has knowingly induced, directly or indirectly, the acts of Analytics constituting the

violations as set forth in Count Three. Accordingly, Kantor is liable for each and every violation

of the Act committed by Analytics, pursuant to Section 13(b) of the Act.

       94.     Analytics is liable for the acts, omissions, or failures of Kantor, and any other

agents, employees, or persons otherwise acting for it, pursuant to Section 2(a)(1)(B) of the Act,

and Regulation 1.2.

       95.     G. Thomas is liable for the acts, omissions, or failures of its agents, employees, or

persons otherwise acting for it, pursuant to Section 2(a)(1)(B) of the Act and Regulation 1.2.

                                 Count Four: Options Fraud
             Section 4c(b) of the Act and Regulation 32.4 Against all Defendants

       96.     The allegations set forth in paragraphs 1 through 95 are re-alleged and

incorporated herein by reference.

       97.     During the Relevant Period, the Defendants, in or in connection with an offer to

enter into, the entry into, or the confirmation of the execution of, any commodity option

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transaction, using the instrumentalities of interstate commerce, directly and indirectly:

(a) cheated or defrauded, and attempted or cheat and defraud, customers and prospective

customers; (b) made or caused to be made to customers and prospective customers false reports

or statements; and (c) deceived or attempted to deceive customers and prospective customers, in

violation of Section 4c(b) of the Act and Regulation 32.4, 17 C.F.R. § 32.4 (2017).

       98.     Defendant Kantor is a controlling person of Blue Bit and Analytics and has failed

to act in good faith, or has knowingly induced, directly or indirectly, the acts of Blue Bit and

Analytics constituting the violations set forth in Count Four. Accordingly, Kantor is liable for

each and every violation of the Act committed by Blue Bit and Analytics pursuant to Section

13(b) of the Act.

       100.    Defendant Mullins is a controlling person of Mercury and has failed to act in good

faith, or has knowingly induced, directly or indirectly, the acts of Mercury constituting the

violations set forth in Count Four. Accordingly, Mullins is liable for each and every violation of

the Act committed by Mercury, pursuant to Section 13(b) of the Act.

       101.    Blue Bit and Analytics are liable for the acts, omissions, or failures of Kantor, and

any other agents, employees, or persons otherwise acting for them, pursuant to Section

2(a)(1)(B) of the Act and Regulation 1.2.

       102.    G. Thomas is liable for the acts, omissions, or failures of its agents, employees, or

persons otherwise acting for it, pursuant to Section 2(a)(1)(B) of the Act and Regulation 1.2.

       103.    Mercury is liable for the acts, omissions, or failures of Mullins, and any other

agents, employees, or persons otherwise acting for it, pursuant to Section 2(a)(1)(B) of the Act

and Regulation 1.2.




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       104.    Each member of the Blue Bit Enterprise participated in the unlawful acts and

practices described in this Complaint and are therefore jointly and severally liable for the

violations of Section 4c(b) of the Act and Regulation 32.4 committed by other members of the

Blue Bit Enterprise.

       105.    Each act of: (a) cheating or defrauding, and attempting to cheat and defraud,

customers and prospective customers; (b) making or causing to be made to customers and

prospective customers false reports or statements; and (c) deceiving or attempting to deceive

customers and prospective customers, is alleged as a separate and distinct violation of Section

4c(b) of the Act and Regulation 32.4.

         Count Five: Manipulative & Deceptive Devices in Connection with Swaps
   Section 6(c)(1) of the Act, 7 U.S.C. § 9(1), and Regulation 180.1(a), 17 C.F.R. § 180.1(a)
                                     Against all Defendants

       106.    The allegations set forth in paragraphs 1 through 105 are re-alleged and

incorporated herein by reference.

       107.    During the Relevant Period, the Defendants, intentionally or recklessly, using the

instrumentalities of interstate commerce, directly and indirectly, in connection with swaps:

(a) used or employed, or attempted to use or employ, manipulative devices, schemes, and

artifices to defraud; (b) made, or attempted to make, untrue or misleading statements of material

facts; (c) omitted to state material facts necessary in order to make statements made not untrue or

misleading; and (d) engaged, or attempted to engage, in acts, practices, and courses of business,

which operated or would operate as a fraud or deceit upon customers or prospective customers,

in violation of Section 6(c)(1) of the Act, 7 U.S.C. § 9(1) (2012), and Regulation 180.1(a),

17 C.F.R. § 180.1(a) (2017).




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       108.    Defendant Kantor is a controlling person of Blue Bit and Analytics and has failed

to act in good faith, or has knowingly induced, directly or indirectly, the acts of Blue Bit and

Analytics constituting the violations as set forth in Count Five. Accordingly, Kantor is liable for

each and every violation of the Act committed by Blue Bit and Analytics pursuant to Section

13(b) of the Act.

       109.    Blue Bit and Analytics are liable for the acts, omissions, or failures of Kantor, and

any other agents, employees, or persons otherwise acting for them, pursuant to Section

2(a)(1)(B) of the Act and Regulation 1.2.

       110.    G. Thomas is liable for the acts, omissions, or failures of its agents, employees, or

persons otherwise acting for it, pursuant to Section 2(a)(1)(B) of the Act and Regulation 1.2.

       111.    Each member of the Blue Bit Enterprise participated in the unlawful acts and

practices described in this Complaint and are therefore jointly and severally liable for the

violations of Section 6(c)(1) of the Act and Regulation 180.1(a) committed by other members of

the Blue Bit Enterprise.

       112.    Each act of: (a) using or employing, or attempting to use or employ, manipulative

devices, schemes, and artifices to defraud; (b) making, or attempting to make, untrue or

misleading statements of material facts; (c) omitting to state material facts necessary in order to

make statements made not untrue or misleading; and (d) engaging or attempting to engage, in

acts, practices, and courses of business, including, but not limited to, those specifically alleged

herein, is alleged as a separate and distinct violation of Section 6(c)(1) of the Act and Regulation

180.1(a).




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                                   VII.    RELIEF REQUESTED

       WHEREFORE, the Commission respectfully requests that this Court, as authorized by

Section 6c of the Act, 7 U.S.C. § 13a-1 (2012), and pursuant to the Court’s own equitable

powers, enter:

       a.        An order finding that the Defendants violated Sections 2(e), 4c(b), and 6(c)(1) of

                 the Act, 7 U.S.C. §§ 2(e), 6c(b), 9(1) (2012), and Regulations 32.2, 32.4, and

                 180.1(a), 17 C.F.R. §§ 32.2, 32.4, 180.1(a) (2017);

       b.        An order finding that Defendants Kantor, Analytics and G. Thomas violated

                 Section 4d(a)(1) of the Act, 7 U.S.C. § 6d(a)(1) (2012);

       c.        An order of permanent injunction prohibiting the respective Defendants and any

                 other person or entity associated with them, from engaging in the conduct

                 described above, in violation of Sections 2(e), 4c(b), 4d(1), and 6(c)(1) of the Act

                 and Regulations 32.2, 32.4 and 180.1(a);

       d.        An order of permanent injunction prohibiting the Defendants and any of their

                 agents, servants, employees, assigns, attorneys, and persons in active concert or

                 participation with Defendants, including any successor thereof, from directly or

                 indirectly:

                 i.      Trading on or subject to the rules of any registered entity (as that term is

                         defined in Section 1a(40) of the Act, 7 U.S.C. § 1a(40);

                 ii.     Entering into any transactions involving “commodity interests” (as that

                         term is defined in Regulation 1.3 (yy), 17 C.F.R. § 1.3(yy) (2017)) for

                         Defendants’ own personal accounts or for any accounts in which

                         Defendants have a direct or indirect interest;

                 iii.    Having any commodity interests traded on Defendants’ behalf;
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            iv.    Controlling or directing the trading for or on behalf of any other person or

                   entity, whether by power of attorney or otherwise, in any account

                   involving commodity interests;

            v.     Soliciting, receiving, or accepting any funds from any person for the

                   purpose of purchasing or selling any commodity interests;

            vi.    Applying for registration or claiming exemption from registration with the

                   Commission in any capacity, and engaging in any activity requiring such

                   registration or exemption from registration with the Commission, except

                   as provided for in Regulation 4.14(a)(9), 17 C.F.R. § 4.14(a)(9) (2017);

                   and

            vii.   Acting as a principal (as that term is defined in Regulation 3.1(a),

                   17 C.F.R. § 3.1(a) (2017), agent or any other officer or employee of any

                   person (as that term is defined in Section 1a of the Act, 7 U.S.C. § 1a)

                   registered, exempted from registration or required to be registered with the

                   Commission except as provided for in Regulation 4.14(a)(9).

      e.    An order directing Defendants and Relief Defendant, as well as any successors

            thereof, to disgorge to any officer appointed or directed by the Court all benefits

            received including, but not limited to, salaries, commissions, loans, fees,

            revenues, and trading profits derived, directly or indirectly, from acts or practices

            that constitute violations of the Act and the Regulations, including pre- and post-

            judgment interest;

      f.    An order directing Defendants, as well as any successors thereof, to make full

            restitution to every person or entity whose funds Defendants received or caused



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             another person or entity to receive as a result of acts and practices that constituted

             violations of the Act and the Regulations, as described herein, and pre- and post-

             judgment interest thereon from the date of such violations;

      g.     An order directing Defendants to pay civil monetary penalties, to be assessed by

             the Court, in an amount not more than the penalty prescribed by Section 6c(d)(1)

             of the Act, 7 U.S.C. § 13a-1(d)(1)(2012), as adjusted for inflation pursuant to the

             Federal Civil Penalties Inflation Adjustment Act Improvements Act of 2015, Pub.

             L. 114-74, 129 Stat. 584 (2015), title VII, Section 701, see Commission

             Regulation 143.8, 17 C.F.R. § 143.8 (2017) for each violation of the Act, as

             described herein;

      h.     An order requiring Defendants to pay costs and fees as permitted by 28 U.S.C.

             §§ 1920 and 2412(a)(2) (2012); and

      i.     Enter an Order providing such other and further relief as this Court may deem

             necessary and appropriate.



Date: April ___, 2018
                                    Respectfully submitted,

                                    ATTORNEYS FOR PLAINTIFF
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